 Case 4:13-cr-00007-JRH-CLR Document 902 Filed 08/07/19 Page 1 of 4




                                                        Il.s. DISTRICT COURT
             IN THE UNITED STATES DISTRICT C^T^Ih^QIDistrict of GA -
                   THE SOUTHERN DISTRICT OF GEORGI^iled In Office
                             SAVANNAH DIVISION                                 ^^

UNITED STATES OF AMERICA,
                                                               Deputy 01^
     Plaintiff,

V.                                         CASE NO. CR413-007


ANTHONY DETHER AARON,


     Defendant.




                                   ORDER



     Before the Court is Defendant Anthony Dether Aaron's

Motion   for      Clarification.      (Doc.     899.)     In     the    motion,

Defendant seeks clarification regarding the amount of jail

credit he    received      on   his sentence.    (Id.     at 1.)       Defendant

indicates    in    his    motion   that   he    believes    the    Bureau      of


Prisons' correction of a discrepancy in his jail credit is

in error and that he is not receiving the full jail time

credit. To the extent           Defendant is seeking           an order from

this Court giving him more jail time credit or otherwise

modifying his sentence. Defendant's motion is DENIED. This

Court enters this order to explain the sentence imposed on

Defendant.


     On November 29, 2012, Defendant was arrested by state

authorities       and    charged   with   two   drug    offenses,       both   of
 Case 4:13-cr-00007-JRH-CLR Document 902 Filed 08/07/19 Page 2 of 4




which    were     related        to     his    instant    federal     drug      offense.

Defendant was not released on bond due to a detainer lodged

by state     parole        authorities in           connection       with    a    parole

violation       as   to     a     prior       unrelated    state     conviction.        On

December     19,      2012,        Defendant's          state     parole     term      was

revoked     and      he     was       returned     to     state    custody       on    the

unrelated       case.       On         February     7,     2013,     Defendant         was

transferred to the               custody of the United              States Marshals

Service     and      Defendant           made     his    initial     appearance         in

federal court on the instant federal charge related to his

November     2012         arrest.       Defendant        subsequently       entered      a

guilty plea in this case to the offense of conspiracy to

possess with intent to distribute 50 kilograms or more of

marijuana. On September 29, 2014, this Court sentenced him

to serve 120 months of imprisonment.

        At sentencing, this Court ordered Defendant's federal

sentence        to    be        served         consecutively        to     the        state

imprisonment term he was already serving due to his parole

revocation.       (Doc.         661;    Doc.    664.)     This    Court    recommended

that    Defendant         receive       credit for       time     served   in    custody

since November 29, 2012, for conduct related to the instant

offense. (Doc. 664 at 2.) Following sentencing.                              Defendant

was returned to state custody to complete the remainder of
 Case 4:13-cr-00007-JRH-CLR Document 902 Filed 08/07/19 Page 3 of 4




his unrelated revoked state parole term.                          Defendant's state

imprisonment term expired on February 9, 2014, and he was

subsequently transferred to the custody of the Bureau of

Prisons to serve his federal sentence in the instant case.

       Since     this       Court     ordered          Defendant's      term    to   run


consecutively to his            revoked state             parole term, Defendant

is eligible to receive credit toward his federal sentence

for time served in custody since November 29, 2012, except

for the       period       served    on    his    revoked      state    parole term.

Therefore,       it     appears       that       the     Bureau    of     Prisons    has

correctly      calculated       Defendant's            federal     sentence     in   the

instant      case     to    exclude       the    period    between      December     19,

2012, and February 9, 2014, during which he was serving a

term     of     imprisonment              due    to      his      unrelated      parole

revocation.


       The     "discrepancy"          mentioned           by   Defendant        in   his

motion,       which    was     discovered         by     the   Bureau      of   Prisons

during its release audit, was not related to the judgment

imposed by the Court. Rather, the discrepancy was related

to the      manner in        which    Defendant's         prior    jail credit       was

calculated in the Bureau of Prisons' original calculation.

In that original calculation, the Bureau of Prisons failed

to   take     into    account       the     Court's      order     that    Defendant's
 Case 4:13-cr-00007-JRH-CLR Document 902 Filed 08/07/19 Page 4 of 4




federal    sentence     run   consecutively   to   his   revoked   state

parole    term.   The   Bureau    of Prisons'    revised   calculation,

noting a projected release date of July 30, 2021, correctly

reflects    the    Court's       sentencing   order   in   this    case.

Accordingly, Defendant's motion {Doc. 899) is DENIED.

     SO ORDERED this              day of August 2019.




                                      WILLIAM T. MOORE,
                                      UNITED STATES DISTRICT COURT
                                      SOUTHERN   DISTRICT OF GEORGIA
